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 1   BLEICHMAR FONTI & AULD LLP
     Lesley E. Weaver (SBN 191305)
 2   Anne K. Davis (SBN 267909)
     Joshua D. Samra (SBN 313050)
 3
     1330 Broadway, Suite 630
 4   Oakland, CA 94612
     Tel.: (415) 445-4003
 5   Fax: (415) 445-4020
     lweaver@bfalaw.com
 6   adavis@bfalaw.com
 7   jsamra@bfalaw.com

 8   Gregory S. Mullens (pro hac vice forthcoming)
     75 Virginia Road, 2nd Floor
 9   White Plains, New York 10603
     Tel.: (415) 445-4006
10   gmullens@bfalaw.com
11
     Counsel for Plaintiffs
12
                                 UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
14
                                                          Case No. 4:20-cv-05146-YGR-SVK
15   PATRICK CALHOUN, et al., on behalf of
     themselves and all others similarly situated,        DECLARATION OF LESLEY E. WEAVER
16                                                        IN SUPPORT OF PLAINTIFFS’
                              Plaintiffs,                 OPPOSITION TO GOOGLE’S MOTION
17
            v.                                            FOR RECONSIDERATION OF DKT. 1011
18
     GOOGLE LLC,                                          Hon. Susan van Keulen, USMJ
19
                              Defendant.
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                                                                              Case No. 4:20-cv-05146-YGR-SVK
                                   WEAVER DECL. IN SUPPORT OF PLS’ OPP. TO GOOGLE’S MOT. FOR RECONSIDERATION
     Case 4:20-cv-05146-YGR Document 1045-1 Filed 10/03/24 Page 2 of 3




 1          I, Lesley E. Weaver, declare and state as follows:
 2          1.      I am Partner-in-Charge of the California office of Bleichmar Fonti & Auld LLP, head
 3 of its consumer and antitrust practice, and along with the law firms DiCello Levitt LLP and Simmons

 4 Hanly Conroy LLP, represent Plaintiffs in the above-captioned matter. I am a member in good

 5 standing of the Bar of the State of California and of this Court and admitted to the United States

 6 District Court for the Northern District of California.

 7          2.      I have personal knowledge of the facts set forth herein and, if called as a witness,
 8 could and would testify competently to them.

 9          3.      I submit this declaration in support of Plaintiffs’ Opposition to Google’s Motion for
10 Reconsideration of Dkt. 1011.

11          4.      On August 26, 2024, counsel for Plaintiffs requested to meet and confer regarding
12 the April 12, 2023 Order (Dkt. 1011, the “Order”) as well as other matters in light of the Ninth

13 Circuit opinion. Google declined to confer until after the mandate issued, on September 10, 2024.

14          5.      The Parties met and conferred on September 18, 2024, during which Google
15 confirmed that while the first provision of the Order (reinstatement of protocols) is self-executing

16 “upon such order of remand” and restarted the pipeline, Google took the position that it would not

17 comply with the Order until after class certification, and also raised the concern that access would

18 be improper because the information would be protected by the Electronic Communications Privacy

19 Act.

20          6.      Thereafter, Plaintiffs proposed a compromise, which Google rejected.
21          7.      On September 23, 2024, in the Parties’ exchanges of the draft CMC statement,
22 Google raised yet another barrier to access, arguing in the draft that Plaintiffs should be required to

23 demonstrate “need” before Google should be required to comply.

24          8.      On October 1, 2024, the Parties met and conferred again, during which Plaintiffs
25 again raised their proposed compromise, but Google refused, asserting Plaintiffs had not shown need

26 to access the data. Google stated during the meet and confer that it would only consider a stipulation

27 that denies Plaintiffs all access and would not agree to limiting its arguments in opposing class

28 certification.

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 1                                                * * *

 2         I declare under penalty of perjury under the laws of the United States that the foregoing is

 3 true and correct.

 4         Executed this 3rd day of October, 2024 at Oakland, California.

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 6                                                       By:     Lesley E. Weaver
                                                         Lesley E. Weaver
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